Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 1 of
                                           49



                                 UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF LOUISIANA

       IN RE:                                                §    Case No. 20-10846
                                                             §
       THE ROMAN CATHOLIC CHURCH                             §    Section “A”
       OF THE ARCHDIOCESE OF NEW                             §
       ORLEANS                                               §    Chapter 11
                                                             §
                        Debtor.1                             §
                                                             §



            SUMMARY COVER SHEET TO TENTH INTERIM APPLICATION FOR
       ALLOWANCE AND PAYMENT OF COMPENSATION AND REIMBURSEMENT OF
          EXPENSES OF ROCK CREEK ADVISORS, LLC AS PENSION FINANCIAL
       ADVISORS FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR
           THE PERIOD FROM NOVEMBER 1, 2024 THROUGH JANUARY 31, 2025

 Name of Applicant:                                                            Rock Creek Advisors, LLC

                                                                               Pension Financial Advisor to the Official
 Applicant’s Professional Role in Case
                                                                               Committee of Unsecured Creditors

                                                                               Effective December 20, 2021 pursuant to
 Date Order of Employment Signed                                               Order dated January 19, 2022 [Docket No.
                                                                               1249]

                                                                                Beginning of
                                                                                                         End of Period
                                                                                  Period

 Time period covered by this Application:                                      07/01/2024         10/31/2024

                                                                               02/01/2022         02/28/2022
                                                                               03/01/2022         06/30/2022
                                                                               07/01/2022         10/31/2022
                                                                               11/01/2022         02/28/2023
 Time period(s) covered by prior Applications:
                                                                               03/01/2023         06/30/2023
                                                                               07/01/2023         10/31/2023
                                                                               11/01/2023         02/28/2024
                                                                               03/01/2024         06/30/2024
                                                                               07/01/2024         10/31/2024



   1
    The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of
   business is located at 7887 Walmsley Ave., New Orleans, LA 70125.


   4928-1821-4191.2 05067.002                                1
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 2 of
                                           49



 Total amounts awarded in all prior Applications:                                           $160,615.00

 Total fees requested in this Application:                                                       $3,575.00

 Total hours covered by this Application:                                                              6.5

 Average hourly rate:                                                                             $550.00

 Reimbursable expenses sought in this Application:                                                  $0.00


      Rock Creek professionals who rendered services for the Official Committee of Unsecured

 Creditors (the “Committee”) in this Chapter 11 case concerning the above captioned debtor and

 debtor-in-possession (the “Debtor”) during the period November 1, 2024 – January 31, 2025 (the

 “Application Period”) are listed below.

    SUMMARY OF HOURS BILLED BY PROFESSIONALS AND PARAPROFESSIONALS
                NOVEMBER 1, 2024 THROUGH JANUARY 31, 2025


                                                         TOTAL
        NAME OF                              HOURLY                   TOTAL
                                  TITLE                  HOURS
      PROFESSIONAL                            RATE                 COMPENSATION
                                                         BILLED

                                Managing
    John L. Spencer                           $900           0.0                $0.00
                                Director

    Chris Peirce                Director      $550           6.5            $3,575.00

    Total                                                    6.5            $3,575.00




   4928-1821-4191.2 05067.002                        2
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 3 of
                                           49



                                     COMPENSATION BY CATEGORY
                                NOVEMBER 1, 2024 THROUGH JANUARY 31, 2025



                      Description                       Hours     Amount

  Fee Application                                           6.5       $3,575.00

  TOTAL                                                     6.5       $3,575.00



                                       EXPENSES BY CATEGORY
                                NOVEMBER 1, 2024 THROUGH JANUARY 31, 2025


                                     Expense Category                             Amount

  N/A                                                                                       N/A

  TOTAL                                                                                    $0.00




   4928-1821-4191.2 05067.002                           3
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 4 of
                                           49



                                 UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF LOUISIANA

       IN RE:                                                §    Case No. 20-10846
                                                             §
       THE ROMAN CATHOLIC CHURCH                             §    Section “A”
       OF THE ARCHDIOCESE OF NEW                             §
       ORLEANS                                               §    Chapter 11
                                                             §
                        Debtor.2                             §
                                                             §


                       TENTH INTERIM APPLICATION FOR
        ALLOWANCE AND PAYMENT OF COMPENSATION AND REIMBURSEMENT
                 OF EXPENSES OF ROCK CREEK ADVISORS, LLC AS
          PENSION FINANCIAL ADVISOR FOR THE OFFICIAL COMMITTEE OF
                     UNSECURED CREDITORS FOR THE PERIOD
               FROM NOVEMBER 1, 2024 THROUGH JANUARY 31, 2025


             A HEARING WILL BE CONDUCTED ON THIS MATTER ON APRIL 17,
             2025, AT 1:30 P.M. (CDT) IN COURTROOM B-709, 500 POYDRAS
             STREET, NEW ORLEANS, LA 70130, OR BY TELEPHONE THROUGH
             THE DIAL-IN FOR SECTION A: 1-504-517-1385; CONFERENCE CODE
             129611. IF YOU OBJECT TO THE RELIEF REQUESTED IN THIS
             PLEADING, YOU MUST RESPOND IN WRITING. UNLESS DIRECTED
             OTHERWISE BY THE COURT, YOU MUST FILE YOUR RESPONSE
             WITH THE CLERK OF THE BANKRUPTCY COURT NO LATER THAN
             SEVEN (7) DAYS BEFORE THE HEARING DATE. YOU MUST SERVE A
             COPY OF YOUR RESPONSE ON THE PERSON WHO SENT YOU THE
             NOTICE; OTHERWISE, THE COURT MAY TREAT THE PLEADING AS
             UNOPPOSED AND GRANT THE RELIEF REQUESTED.



             Rock Creek Advisors, LLC (“Rock Creek” or the “Firm”), pension financial advisor for

   the Official Committee of Unsecured Creditors (the “Committee”) of The Roman Catholic

   Church of the Archdiocese of New Orleans (the “Debtor”), hereby submits its Tenth Interim



   2
    The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of
   business is located at 7887 Walmsley Ave., New Orleans, LA 70125.

   4928-1821-4191.2 05067.002                                4
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 5 of
                                           49



   Application for Allowance and Payment of Compensation and Reimbursement of Expenses of

   Rock Creek Advisors, as Pension Financial Advisor for the Official Committee of Unsecured

   Creditors for the Period From November 1, 2024 Through January 31, 2025 (the

   “Application”). In support of the Application, Rock Creek respectfully represents as follows:

                                             I.      INTRODUCTION

             In this Application, the Firm seeks interim allowance and payment of fees in the amount

   of $3,575.00. To date Rock Creek has been paid $0.00 in fees incurred during the Application

   Period.

                                      II.     JURISDICTION AND VENUE

             1.        The Court has jurisdiction to consider this Application pursuant to 28 U.S.C.

   §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

             2.        Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

             3.        The bases for the relief requested herein are sections 330 and 331 of title 11 of the

   United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), Rules 2014 and 2016 of

   the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rules 2014-1 and 2016-1

   of the Bankruptcy Local Rules for the Eastern District of Louisiana (the “Local Rules”), Section

   XIII(B) of the Court’s December 4, 2019 General Order Regarding Procedures of Complex

   Chapter 11 Cases (the “Complex Case Order”).

                                            III.    BACKGROUND

        A.        Introduction

             4.        On May 1, 2020 (the “Petition Date”), the Debtor filed a voluntary petition for

   relief under the Bankruptcy Code.




   4928-1821-4191.2 05067.002                            5
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 6 of
                                           49



              5.       The Debtor remains in possession of its property and is managing its business as a

   debtor in possession pursuant to §§ 1107(a) and 1108 of the Bankruptcy Code, 11 U.S.C. § 101

   et. seq.

              6.       On May 20, 2020, the Office of the United States Trustee for Region 5 appointed

   the Committee pursuant to section 1102(a)(1) of the Bankruptcy Code [Docket No. 94], which was

   reconstituted on June 10, 2020 [Docket No. No. 151], and on October 8, 2020, to remove TMI

   Trust Company, Inc., in its capacity as indenture trustee for certain bonds [Docket No. 478]. The

   Committee was further reconstituted on June 21, 2022 [Docket No. 1618], and on February 13,

   2023 [Docket No. 2081].3

              7.       On May 22, 2020, the Committee conducted its first meeting and at that meeting

   unanimously selected Pachulski, Stang, Ziehl & Jones (“PSZJ”) and Locke Lord LLP (“Locke

   Lord”) to serve as co-counsel.

        B.         Employment of the Firm

              8.       On December 30, 2021, the Committee filed an Application for Entry of an Order

   Authorizing the Retention and Employment of Rock Creek Advisors, LLC as Pension Financial

   Advisor to the Official Committee of Unsecured Creditors [Docket No. 1221] (the “Retention

   Application”). As more fully described in the Retention Application, the Committee retained the

   Firm to render pension financial advisory services to the Committee in this Bankruptcy Case.

              9.       On January 19, 2022, this Court entered the Order Authorizing the Retention and

   Employment of Rock Creek Advisors, LLC as Pension Financial Advisor to the Official

   Committee of Unsecured Creditors [Docket No. 1249] (the “Retention Order”). The Retention




   3
    A separate official committee of unsecured commercial creditors was appointed by the US Trustee on March 5,
   2021. [Docket Nos. 772 and 792].

   4928-1821-4191.2 05067.002                             6
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 7 of
                                           49



   Order approved the Firm’s retention as the Committee’s pension financial advisor in this

   Bankruptcy Case.

                        IV.     WORK PERFORMED AND RESULTS OBTAINED /
                                 EXTRAORDINARY CIRCUMSTANCES

             10.       The Firm provided, and continues to provide, financial advisory services to the

   Committee in this Bankruptcy Case. The Firm has attached to this Application copies of the

   Firm’s Monthly Fee Statements to which are appended invoices (the “Invoices”) setting forth the

   time-keeping entries generated by those Firm personnel who worked on this matter during

   Application Period from November 1, 2024 through January 31, 2025.

                       V.       NATURE AND EXTENT OF PENSION FINANCIAL ADVISORY
                                SERVICES PROVIDED

             11.       This Application has been prepared in accordance with sections 330 and 331 of

   the Bankruptcy Code, Bankruptcy Rules 2014 and 2016, Local Rules 2014-1 and 2016-1, the

   UST Guidelines, and Section XIII(B) of the Court’s December 4, 2019 General Order

   Regarding Procedures for Complex Chapter 11 Cases.

             12.       On December 18, 2024, Rock Creek submitted its November fee statement (the

   “November Monthly Fee Statement”) covering the period November 1, 2024 through November

   30, 2024. Rock Creek incurred fees in the amount of $1,925.00. Therefore, in its November

   Monthly Fee Statement, Rock Creek requested payment of 80% of its fees totaling $1,540.00.

   Attached hereto as Exhibit A is a true and correct copy of the November Monthly Fee

   Statement.

             13.       On January 27, 2025, Rock Creek submitted its December fee statement (the

   “December Monthly Fee Statement”) covering the period December 1, 2024 through December

   31, 2024. Rock Creek incurred fees in the amount of $825.00. Therefore, in its December



   4928-1821-4191.2 05067.002                           7
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 8 of
                                           49



   Monthly Fee Statement, Rock Creek requested payment of 80% of its fees totaling $660.00.

   Attached hereto as Exhibit B is a true and correct copy of the December Monthly Fee Statement.

             14.       On February 26, 2025, Rock Creek submitted its January fee statement (the

   “January Monthly Fee Statement”) covering the period January 1, 2025 through January 31,

   2025. Rock Creek incurred fees in the amount of $825.00. Therefore, in its January Monthly

   Fee Statement, Rock Creek requested payment of 80% of its fees totaling $660.00. Attached

   hereto as Exhibit C is a true and correct copy of the January Monthly Fee Statement.

                       VI.      SUMMARY OF FINANCIAL PENSION ADVISORY SERVICES
                                RENDERED BY CATEGORY

             15.       The services rendered by Rock Creek during the Application Period can be

   grouped into the categories set forth below. Rock Creek attempted to place the services

   provided in the category that best relates to such services. Certain services may relate to one

   or more categories, but have only been included once to prevent any duplication. These

   services performed, by categories, are generally described below, with a more detailed

   identification of the actual services provided set forth in the attached Fee Statements.

             A.        Fee Application


             16.       Time spent includes formatting in LEDES, organizing time entries, and

   preparing the Ninth Interim Fee Application as well as preparing monthly invoices.

                       Fees: $3,575.00              Hours: 6.5


             B.        Actual and Necessary Expenses Incurred By Rock Creek


             17.       Rock Creek did not incur any expenses on the Committee’s behalf during the

   Application Period.



   4928-1821-4191.2 05067.002                          8
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 9 of
                                           49



                       VII.     STATEMENT OF COMPLIANCE WITH BANKRUPTCY RULE
                                2016


             18.       As more fully described in the Retention Application, the Committee agreed to

   retain the Firm as its pension financial advisor and to compensate the Firm on an hourly basis

   in accordance with the Firm’s retention application, plus reimbursement of the actual and

   necessary expenses that the Firm incurred in connection with the Bankruptcy Case. All

   compensation for services rendered, and reimbursement for expenses incurred, are subject to

   this Court’s approval in accordance with the Retention Order, Bankruptcy Code §§ 330 and

   331, the Bankruptcy Rules, the Local Rules, and other procedures that this Court may fix. No

   entity has promised to compensate the Firm for any services rendered, or reimburse it for

   expenses incurred, in connection with this case except as this Court may approve.

             19.       No agreement or understanding exists between the Firm and any other entity for

   the sharing of any compensation or reimbursement (i) that the Firm may receive for services

   rendered in, or in connection with, this Bankruptcy Case or (ii) that such other entity has

   already received or may receive for services that entity rendered in, or in connection with this

   Bankruptcy Case, except that the Firm will share any compensation or reimbursement it

   receives in connection with this Bankruptcy Case with its members and other Firm employees

   (as originally disclosed in the Retention Application).

                       VIII. THE REQUESTED COMPENSATION SHOULD BE ALLOWED


             20.       Section 330 provides that a court may award a professional employed under 11

   U.S.C § 328 “reasonable compensation for actual, necessary services rendered . . . and

   reimbursement for actual, necessary expenses.” See 11 U.S.C. Section 330(a)(1). Section 330

   also sets forth the criteria for the award of such compensation and reimbursement:


   4928-1821-4191.2 05067.002                          9
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 10
                                         of 49



                             In determining the amount of reasonable compensation to be
            awarded . . . , the court should consider the nature, the extent, and the value of
            such services, taking into account all relevant factors, including –


                      (A)      the time spent on such services;

                      (B)      the rates charged for such services;

                      (C)      whether the services were necessary to the administration of, or beneficial
                               at the time at which the service was rendered toward the completion of, a
                               case under this title;

                      (D)      whether the services were performed within a reasonable amount of time
                               commensurate with the complexity, importance, and nature of the
                               problem, issue, or task addressed;

                      (E)      with respect to a professional person, whether the person is board certified
                               or otherwise has demonstrated skill and experience in the bankruptcy
                               field; and

                      (F)      whether the compensation is reasonable based on the customary
                               compensation charged by comparably skilled practitioners in cases other
                               than cases under this title.

  11 U.S.C. § 330(a)(3).

            21.       Rock Creek has a reputation for its expertise in financial and bankruptcy

  reorganizations and restructurings and as noted above, the compensation is reasonable based on

  customary compensation charged by other practitioners in non-bankruptcy cases. Based on an

  application of the above factors and its compliance with the UST Guidelines, Rock Creek

  respectfully submits that the compensation requested herein is reasonable and in light of the

  nature, extent and value of such services to the Committee and, accordingly, that approval of

  the compensation sought herein is warranted.

            22.       Section 330 of the Bankruptcy Code authorizes the Court to award the Firm

  reasonable compensation for its actual and necessary financial advisory services rendered and

  reimbursement of actual and necessary expenses incurred in the rendering of those financial

  advisory services as counsel to the Committee in this case. Bankruptcy Code § 330(a)(1)
  4928-1821-4191.2 05067.002                            10
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 11
                                         of 49



  provides as follows:

            (a)(1) After notice to the parties in interest and the United States Trustee and a hearing,
            and subject to sections 326, 328, and 329, the court may award to a trustee, a consumer
            privacy ombudsman appointed under section 332, an examiner, an ombudsman
            appointed under section 333, or a professional person employed under section 327 or
            1103—

                    (A)   reasonable compensation for actual, necessary services rendered by the
            trustee, examiner, ombudsman, professional person, or attorney and by any
            paraprofessional person employed by any such person; and

                      (B)      reimbursement for actual, necessary expenses.

  11 U.S.C. § 330(a)(1).

            23.       This Application substantiates the total amount the Firm seeks for fees and

  expenses in accordance with this Court’s standards applied to fee applications. The factors that

  courts in this jurisdiction consider when making a discretionary award of reasonable attorneys’

  fees and reimbursable expenses were originally described in Johnson v. Georgia Highway

  Express, Inc., 488 F.2d 714, 717-19 (5th Cir. 1974) (the “Johnson Factors”). The Fifth Circuit

  has applied the Johnson Factors to the determination of awards of professionals’ fees and

  expenses in bankruptcy cases. In re First Colonial Corp. of Am., 544 F.2d 1291 (5th Cir.

  1977), cert. denied 431 U.S. 904 (1977). Many of these Johnson Factors have now been

  codified at Bankruptcy Code § 330(a)(3). 11 U.S.C. § 330(a)(3).

            24.       The Johnson Factors are summarized as follows: (1) the time and labor required;

  (2) the novelty and difficulty of the questions presented; (3) the skill required to perform the

  financial advisory services; (4) the preclusion of other employment by the professionals due to

  acceptance of the bankruptcy case; (5) the customary fee; (6) whether the fee is fixed or

  contingent; (7) time limitations imposed by the client or circumstances; (8) the amounts

  involved and the results obtained; (9) the experience, reputation and ability of the professionals;

  (10) the “undesirability” of the case; (11) the nature and length of the professional relationship

  4928-1821-4191.2 05067.002                           11
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 12
                                         of 49



  with the client; and (12) awards in similar cases.4 Based upon the services described in this

  Application, the Firm respectfully represents that it has fully satisfied the standards prescribed

  by the Johnson Factors.

  The Time and Labor Required

            25.       Firm professionals and case assistants, in the performance of financial advisory

  services, expended 6.5 hours during the Application Period, for a total fee of $3,575.00. The

  names of the professionals who worked on this case during the Application Period appear in the

  Invoices and on the cover sheet attached to this Application. The Firm submits that the time

  and labor these professionals expended in the Bankruptcy Case are appropriate and reasonable

  and that this Johnson Factor supports the Firm’s requested award. Further, the amount of time

  multiplied by a reduced, and reasonable, fee suggests that the fee award is appropriate in this

  Circuit under the “lodestar” doctrine.

  The Novelty and Difficulty of the Questions Presented

            26.       This Bankruptcy Case presents many novel and difficult questions. Addressing

  these questions have necessitated considerable financial advisory expertise. In light of these

  considerations, this Johnson Factor strongly favors awarding the Firm the fees and expenses it

  has requested.

  The Skill Required to Perform the Services


            27.       Representing the Committee in this Bankruptcy Case required considerable skill

  and expertise in bankruptcy issues. The Firm has considerable experience in complex



  4
    The factors enunciated in Johnson have been adopted by four other courts of appeals. See Boston & Maine Corp. v.
  Sheehan, Phinney, Bass & Green, 778 F.2d 890, 896 (1st Cir. 1985); Harman v. Levin, 772 F.2d 1151, 1152-53 (4th Cir.
  1985); Mann v. McCombs, 751 F.2d 286, 287-88 (8th Cir. 1984); Yermakov v. Fitzsimmons, 718 F.2d 1465, 1471 (9th Cir.
  1983).

  4928-1821-4191.2 05067.002                              12
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 13
                                         of 49



  bankruptcy matters. Further, the Firm has been engaged as pension financial advisor in other

  creditors’ committees in cases with abuse claims, and has experience in cases involving

  dioceses and archdioceses of the Catholic Church, and thus has a unique understanding of the

  structure and history of that institution and its sub-entities, and of the nature of its assets.

  Applicant submits that this expertise is also relevant as a factor suggesting a fee award under

  Local Rule 2016-1 (A)(13). The Firm employed professionals of varying levels of skill and

  expertise to efficiently resolve the issues in this case. The Firm strived to limit the number of

  professionals who worked on this case and to use the most appropriate professional and case

  assistant staff for any given task. For this reason, the compensation the Firm is requesting for

  the services rendered by its professionals compares favorably to the compensation awarded in

  other bankruptcy cases of a similar size and complexity. This factor therefore supports the

  award the Firm has requested.

  The Customary Fee

            28.       The Firm computed the amount of compensation it seeks in this Application

  according to its customary rates, which rates the Firm previously disclosed in the Retention

  Application. The Firm also maintained detailed time and disbursement records for all financial

  advisory services for which it seeks compensation. The rates charged for the Firm’s financial

  advisory services in this case are comparable to other similar-situated firms. Thus, the blended

  hourly rate on this matter of $800.00 per hour is reasonable and reflects market rates for

  pension financial advisory services in Chapter 11 bankruptcy cases of this size and complexity.

  Similarly, the amounts sought for the reimbursement of expenses reflect the prevailing rates for

  expense reimbursement by financial advisory firms similar in size and reputation to the Firm.




  4928-1821-4191.2 05067.002                         13
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 14
                                         of 49



  Whether the Fee is Fixed or Contingent

            29.       The Firm’s fees for services rendered in this Bankruptcy Case are based on its

  hourly rates, subject in all respects to this Court’s approval. The Firm has not requested any

  contingent fee in this Bankruptcy Case.

  Time Limitations Imposed by the Client or Other Circumstances

            30.       The Firm has had to respond to tight time constraints arising in this Bankruptcy

  Case. Matters often arose throughout the Application Period that required the Firm’s

  immediate attention. This imposed time demands on the Firm’s personnel and required them to

  devote considerable financial advisory resources to these matters. Taken together, these

  considerations suggest that this Johnson Factor supports the fee award requested.

  The Amount Involved and the Results Obtained

            31.       The Invoices summarize the individual tasks that Firm personnel performed

  during the Application Period as well as the amounts charged for those tasks. The total fees the

  Firm seeks to approve in this Application are $3,575.00. This figure is commensurate with the

  Firm’s achievements. This Johnson Factor strongly supports the fee award requested.

  The Experience, Reputation, and Ability of the Professionals

            32.       The Firm’s professionals have significant experience in bankruptcy, financial

  advisory and investigative matters, and have an excellent reputation in the bankruptcy and

  financial advisory communities. In particular, the Firm’s professional have appeared in

  bankruptcy cases throughout the United States and have provided services to secured creditors,

  unsecured creditors, creditors’ committees, and debtors-in-possession. The quality of the

  Firm’s services is consistently high. In addition, the Firm’s professionals also speak and write

  on various financial, valuation, accounting and investigative topics throughout the country. As



  4928-1821-4191.2 05067.002                          14
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 15
                                         of 49



  mentioned, the Firm has expertise in cases, such as this one, involving numerous abuse claims

  and sub-entities of the Catholic Church. The substantial experience, reputation, and ability of

  the Firm’s professionals working on this Bankruptcy Case favor granting the Firm the fee

  award it seeks.

  The “Undesirability” of the Bankruptcy Case

            33.       From the Firm’s perspective, serving as pension financial advisor to the

  Committee in this Bankruptcy Case was not undesirable. However, bankruptcy cases involved

  abuse claims and religious entities can involve intensive and hard-fought disputes, for example,

  regarding the claims process and the recovery and liquidation of assets. These concerns mean

  that any professional services firm being employed could face potential fee risk and other

  uncertainties. This factor therefore favors granting the Firm the award it has requested.

  The Nature and Length of the Professional Relationship with the Client

            34.       The Firm has no prior professional relationship with the Committee, which was

  only formed after this case began. However, members of the Firm have worked in similar

  matters, thus making the representation of the Committee more efficient. For this reason, this

  Johnson Factor supports granting the Firm its fee award in this case.

  Awards in Similar Cases

            35.       The fee award the Firm seeks compares favorably to awards granted in other

  bankruptcy cases with a size and complexity similar to this case, including cases in the Fifth

  Circuit. In light of these considerations, this last Johnson factor also supports granting the Firm

  its award.

            36.       In conclusion, the Johnson Factors favor granting the Firm the fee and expense

  award it seeks.



  4928-1821-4191.2 05067.002                          15
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 16
                                         of 49



                                   X.      RESERVATION OF RIGHTS

            37.       It is possible that some professional time expended or expenses incurred by

  Rock Creek are not reflected in this Application. Rock Creek reserves the right to file a

  supplemental fee application to submit additional fees and expenses not previously included in

  the Application, or to include such time and costs in a future fee application.

                                           XI.     NO PRIOR REQUEST

            38.       No prior application for the relief requested herein has been made to this or any

  other court.

                                           XII.    CONCLUSION

            WHEREFORE, Rock Creek respectfully requests that this Court enter an order (i)

  awarding Rock Creek an interim allowance of fees for the Application Period in the amount of

  $3,575.00; (ii) authorizing and directing the Debtor to pay such allowed fees and costs, less

  amounts previously paid; and (iii) granting such other or additional relief as is just and proper.

   Dated: March 27, 2025                                    Respectfully submitted,

                                                            By: /s/ James Gansman
                                                            James Gansman
                                                            Rock Creek Advisors, LLC
                                                            1738 Belmar Blvd
                                                            Belmar, NJ 07719
                                                            Email: jgansman@rockcreekfa.com

                                                            Pension Financial Advisor to the Official
                                                            Committee of Unsecured Creditors




  4928-1821-4191.2 05067.002                           16
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 17
                                         of 49



                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF LOUISIANA


      IN RE:                                                §    Case No. 20-10846
                                                            §
      THE ROMAN CATHOLIC CHURCH                             §    Section “A”
      OF THE ARCHDIOCESE OF NEW                             §
      ORLEANS                                               §    Chapter 11
                                                            §
                       Debtor.1                             §
                                                            §


              ORDER APPROVING TENTH INTERIM APPLICATION FOR
       ALLOWANCE AND PAYMENT OF COMPENSATION AND REIMBURSEMENT
                OF EXPENSES OF ROCK CREEK ADVISORS, LLC AS
         PENSION FINANCIAL ADVISORS FOR THE OFFICIAL COMMITTEE OF
                    UNSECURED CREDITORS FOR THE PERIOD
               FROM NOVEMBER 1, 2024 THROUGH JANUARY 31, 2025

            CAME ON for consideration the Tenth Interim Application for Allowance and Payment of

  Compensation and Reimbursement of Expenses of Rock Creek Advisors, LLC as Pension Financial

  Advisors for the Official Committee of Unsecured Creditors for Allowance of Compensation and

  Reimbursement of Expenses for the Period from November 1, 2024 through January 31, 2025

  [Docket No. ___] (the “Application”) filed by Rock Creek Advisors, LLC (the “Firm”) for the

  period from November 1, 2024 through January 31, 2025 (the “Application Period”). The Court

  finds that the Application was properly served pursuant to the Federal and Local Rules of

  Bankruptcy Procedure, with proper notice language incorporated therein. The Court, having

  examined the Application, and having determined on an interim basis whether the services and

  expenses as outlined in the Application were actual, reasonable and necessary in representing the




  1
   The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of
  business is located at 7887 Walmsley Ave., New Orleans, LA 70125.

  4928-1821-4191.2 05067.002
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 18
                                         of 49



  interests of the Committee, finds that just cause exists for entry of the following order.

            IT IS THEREFORE ORDERED, ADJUDGED AND DECREED THAT:

            1.        The Application is APPROVED in its entirety. The Firm is allowed and awarded,

  on an interim basis, fees for services rendered in the amount of $3,575.00 for the Application

  Period as an administrative expense claim under Bankruptcy Code § 503 against the estate of the

  Debtor.

            2.        The Debtor is further authorized and directed to pay the balance of the Award to the

  Firm on an interim basis as an administrative expense claim under Bankruptcy Code § 503 against the

  estates of the Debtor, within ten (10) calendar days after the entry of this Order.

            New Orleans, Louisiana, this ____ day of __________________________, 2025.




                                                    __________________________________________
                                                    MEREDITH S. GRABILL
                                                    UNITED STATES BANKRUPTCY JUDGE




  4928-1821-4191.2 05067.002                            2
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 19
                                         of 49




                       EXHIBIT A
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 20
                                         of 49


                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF LOUISIANA

      IN RE:                                                §    Case No. 20-10846
                                                            §
      THE ROMAN CATHOLIC CHURCH                             §    Section “A”
      OF THE ARCHDIOCESE OF NEW                             §
      ORLEANS                                               §    Chapter 11
                                                            §
                     Debtor.1                               §    Objection Deadline: January 10, 2025
                                                            §


                      MONTHLY FEE AND EXPENSE STATEMENT OF
                             ROCK CREEK ADVISORS, LLC
                       AS PENSION FINANCIAL ADVISOR FOR THE
                   OFFICIAL COMMITTEE OF UNSECURED CREDITORS
                 FOR THE PERIOD NOVEMBER 1, 2024 – NOVEMBER 30, 2024

            1.      In accordance with Section XIII(B) of the Court’s December 4, 2019 General

  Order Regarding Procedures for Complex Chapter 11 Cases (the “Complex Case Order”), Rock

  Creek Advisors, LLC (“Rock Creek” or the “Firm”), pension financial advisor for the Official

  Committee of Unsecured Creditors (the “Committee”) of The Roman Catholic Church of the

  Archdiocese of New Orleans (the “Debtor”), hereby submits its Monthly Fee and Expense

  Statement (the “Statement”) for the period from November 1, 2024 through November 30, 2024

  (the “Statement Period”) for the above-styled Chapter 11 bankruptcy case (the “Bankruptcy

  Case”).

                                                  RELIEF REQUESTED

            2.      The total amounts sought by Rock Creek for fees for professional services

  rendered and reimbursement of actual, reasonable, and necessary expenses incurred for the

  Statement Period are as follows:



  1
   The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of
  business is located at 7887 Walmsley Ave., New Orleans, LA 70125.

  DOCS_LA:352046.1 05067/002
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 21
                                         of 49


                                    November 1, 2024 to November 30, 2024
                    Fees                                                 $1,925.00
                    Expenses                                             $       0.00
                    Total                                                $1,925.00

                               SERVICES RENDERED AND EXPENSES INCURRED

           3.           The Rock Creek timekeepers (collectively, the “Timekeepers”) who rendered

  services to the Committee in connection with the Bankruptcy Case during the Statement Period,

  including the rate and fees earned by each Timekeeper, is attached hereto as Exhibit A. Also

  included in Exhibit A is a schedule of fees incurred by Rock Creek during the Statement Period

  summarized by task code, along with the detailed time records which describe the time spent by

  each Rock Creek Timekeeper for the Statement Period.

           4.           Rock Creek also maintains records of all actual and necessary out-of-pocket

  expenses incurred in connection with the rendition of its professional services. At this time Rock

  Creek is not requesting reimbursement for any expenses incurred during the Statement Period but

  reserves the right to request reimbursement therefore in the future.

  SUMMARY OF FEE STATEMENTS AND APPLICATIONS SUBMITTED AND FILED

          Application
                                        Requested                 Paid to Date               Total Unpaid
            Period

                                 Fees         Expenses     Fees              Expenses    Fees          Expenses

      7/1/2022 – 7/31/2022     $5,550.00        $0.00    $5,550.00               $0.00   $0.00              N/A

       8/1/2022-8/31/2022       $825.00         $0.00     $825.00                $0.00   $0.00              N/A

       9/1/2022-9/30/2022       $550.00         $0.00     $550.00                $0.00   $0.00              N/A

      10/1/2022-10/31/2022      $660.00         $0.00     $660.00                $0.00   $0.00              N/A

     11/1/2022 – 11/30/2022    $1,650.00        $0.00    $1,650.00               $0.00   $0.00              N/A

     12/1/2022 – 12/31/2022     $440.00         $0.00     $440.00                $0.00   $0.00              N/A

      1/1/2023 – 1/31/2023      $550.00         $0.00     $550.00                $0.00   $0.00              N/A

      2/1/2023 – 2/28/2023     $11,480.00       $0.00    $11,480.00              $0.00   $0.00              N/A


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  DOCS_LA:352046.1 05067/002
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 22
                                         of 49


      3/1/2023 – 3/31/2023     $2,190.00    $0.00   $2,190.00      $0.00        $0.00        N/A

      4/1/2023 – 4/30/2023     $1,375.00    $0.00   $1,375.00      $0.00        $0.00        N/A

      5/1/2023 – 5/31/2023     $38,660.00   $0.00   $38,660.00     $0.00        $0.00        N/A

      6/1/2023 – 6/30/2023     $5,410.00    $0.00   $5,410.00      $0.00        $0.00        N/A


      7/1/2023 – 7/31/2023     $5,830.00    $0.00   $5,830.00      $0.00        $0.00        N/A

      8/1/2023 – 8/31/2023     $8,475.00    $0.00   $8,475.00      $0.00        $0.00        N/A

      9/1/2023 – 9/30/2023     $1,280.00    $0.00   $1,280.00      $0.00        $0.00        N/A

     10/1/2023 – 10/31/2023     $825.00     $0.00    $825.00       $0.00        $0.00        N/A

     11/1/2023 – 11/30/2023    $1,925.00    $0.00   $1,925.00      $0.00        $0.00        N/A

     12/1/2023 – 12/31/2023    $1,100.00    $0.00   $1,100.00      $0.00        $0.00        N/A

      1/1/2024 – 1/31/2024      $825.00     $0.00    $825.00       $0.00        $0.00        N/A

      2/1/2024 – 2/29/2024      $825.00     $0.00    $825.00       $0.00        $0.00        N/A

      3/1/2024 – 3/31/2024     $1,925.00    $0.00   $1,925.00      $0.00        $0.00        N/A

      4/1/2024 – 4/30/2024      $825.00     $0.00    $825.00       $0.00        $0.00        N/A

      5/1/2024 – 5/31/2024      $825.00     $0.00    $825.00       $0.00        $0.00        N/A

      6/1/2024 – 6/30/2024      $825.00     $0.00    $825.00       $0.00        $0.00        N/A

      7/1/2024 – 7/31/2024     $1,925.00    $0.00   $1,540.00      $0.00       $385.00       N/A

      8/1/2024 – 8/31/2024      $825.00     $0.00     $0.00        $0.00       $825.00       N/A

      9/1/2024 – 9/30/2024      $825.00     $0.00     $0.00        $0.00       $825.00       N/A

     10/1/2024 – 10/31/2024     $825.00     $0.00     $0.00        $0.00       $825.00       N/A



                                             NO PRIOR REQUEST

           5.        With respect to the amounts requested herein, as of the date of this Statement, Rock

  Creek has received no payments and no previous application for the relief sought herein has been

  made to this or any other Court.




                                                      3
  DOCS_LA:352046.1 05067/002
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 23
                                         of 49


                               NOTICE AND OBJECTION PROCEDURES

          6.       In accordance with the Interim Compensation Order, notice of the Statement has

  been served upon the following parties (“Notice Parties”) as required by the Complex Case Order:

  (i) counsel for the Debtor, Mark Mintz, Esq., Jones Walker LLP, 201 St. Charles Ave, New

  Orleans, LA 70170-5100; (ii) counsel for the prepetition secured lender, Hancock Whitney Bank,

  David F. Waguespack, Esq., Carver, Darden, Koretzky, Tessier, Finn, Blossman & Areaux,

  L.L.C., 1100 Poydras Street, Suite 3100, New Orleans, Louisiana 70163-1102; (iii) KS State Bank,

  1010 Westloop, P.O. Box 69, Manhattan KS 66505-0069; (iv) Dell Financial Svc LP, Mail Stop

  P82DF, 23 One Dell Way, Round Rock TX 78682; (v) David S. Rubin, Butler Snow LLP, 445

  North Boulevard, Suite 300, Baton Rouge, LA 70802; (vi) Colleen Murphy, Greenberg Traurig,

  One International Place, Suite 2000, Boston, MA 02110; (vii) Annette Jarvis, Greenberg Traurig,

  222 S. Main Street, Fifth Floor, Salt Lake City, UT 84101; and (viii) Amanda George, Esq., Office

  of The United States Trustee, 400 Poydras Street, Suite 2110, New Orleans, LA 70130; and (ix)

  Stewart Robbins Brown & Altazan, LLC, 301 Main Street, Suite 1640, P.O. Box 2348, Baton

  Rouge, LA 70821-2348.

          7.        Also pursuant to the Complex Case Order, any objections to this Statement must

  be asserted on or before January 10, 2025 (the “Objection Deadline”), setting forth the nature of

  the objection and the specific amount of fees or expenses at issue.

          8.       If no objections to the Statement are received on or before the Objection Deadline,

  the Debtor, pursuant to the Complex Case Order, is authorized to pay Rock Creek on an interim

  basis the total amount of $1,5400.00, which consists of eighty percent (80%) of Rock Creek’s total

  fees of $1,925.00 for the Statement Period.

          9.       To the extent an objection to the Statement is received on or before the Objection

  Deadline, the Debtor is to withhold payment of that portion of the Statement to which the objection

                                                    4
  DOCS_LA:352046.1 05067/002
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 24
                                         of 49


  is directed and will promptly pay the remainder of the fees and disbursements in the percentages

  set forth above. To the extent such objection is not resolved, it shall be preserved and scheduled

  for consideration at the next interim fee application hearing.

   Dated: December 27, 2024                             Respectfully submitted,

                                                        By: /s/ James Gansman
                                                        James Gansman
                                                        Rock Creek Advisors, LLC
                                                        1738 Belmar Blvd
                                                        Belmar, NJ 07719
                                                        Email: jgansman@rockcreekfa.com

                                                        Pension Financial Advisor to the Official
                                                        Committee of Unsecured Creditors




                                                   5
  DOCS_LA:352046.1 05067/002
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 25
                                         of 49




                                EXHIBIT A




  4919-5140-2249.1 05067.002
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 26
                                         of 49




 James I Stang                                                                                            December 18, 2024
 Pachulski Stang Ziehl & Jones                                                                                 Invoice #: 2279
 10100 Santa Monica Blvd.                                                                                Tax ID # XX-XXXXXXX
 13th Floor
 Los Angeles, CA 90067


____________________________________________________________________________________


         Services Rendered from November 1, 2024 Through November 30, 2024


         RE: The Official Committee of Unsecured Creditors for the Roman Catholic of
         the Archdiocese of New Orleans




                      Professional Services                                     $    1,925.00      USD
                        CURRENT CHARGES                                         $    1,925.00      USD




 Please direct questions regarding this invoice to: John Spencer at (203) 524-8990 or jspencer@rockcreekadvisor.com.



 Please remit wire/ACH payment to:
 Bank Name:           TD Bank N.A.
 ABA #:               026013673
 Account Name:        ROCK CREEK ADVISORS, LLC
 Account #:           4357257124




 Please remit check payment to:
 ROCK CREEK ADVISORS, LLC
 1738 BELMAR BLVD
 BELMAR, NJ 07719




1738 Belmar Blvd                                                                                     Belmar, NJ 07719
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 27
                                         of 49




Summary of Professional Services:




                Name                Rate          Hours         Fee
 Chris Peirce                         550.00              3.5   1,925.00

 Total Professional Services                              3.5   1,925.00




Summary by Task:




               Task                 Hours         Fee
 Fee Application                            3.5   1,925.00
 Total Tasks:                               3.5   1,925.00




1738 Belmar Blvd                                                           Belmar, NJ 07719
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 28
                                         of 49




Detail of Professional Services:




    Date              Task                         Notes                   Hours     Last   Billable   Billable
                                                                                    Name     Rate      Amount
  11/1424     Fee Application      Review prior month time entries and      1.5    Peirce    550.00     825.00
                                   complete fee statement and LEDES
                                   formatted file.
  11/1424     Fee Application      Prepare Ninth Interim Application for    2.0    Peirce   550.00     1,100.00
                                   Allowance and Payment of Compensation
                                   and Reimbursement of Expenses




1738 Belmar Blvd                                                                            Belmar, NJ 07719
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 29
                                         of 49




                        EXHIBIT B
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 30
                                         of 49


                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF LOUISIANA

      IN RE:                                                §    Case No. 20-10846
                                                            §
      THE ROMAN CATHOLIC CHURCH                             §    Section “A”
      OF THE ARCHDIOCESE OF NEW                             §
      ORLEANS                                               §    Chapter 11
                                                            §
                       Debtor.1                             §    Objection Deadline: February 12, 2025
                                                            §


                        MONTHLY FEE AND EXPENSE STATEMENT OF
                               ROCK CREEK ADVISORS, LLC
                         AS PENSION FINANCIAL ADVISOR FOR THE
                     OFFICIAL COMMITTEE OF UNSECURED CREDITORS
                   FOR THE PERIOD DECEMBER 1, 2024 – DECEMBER 31, 2024

            1.        In accordance with Section XIII(B) of the Court’s December 4, 2019 General

  Order Regarding Procedures for Complex Chapter 11 Cases (the “Complex Case Order”), Rock

  Creek Advisors, LLC (“Rock Creek” or the “Firm”), pension financial advisor for the Official

  Committee of Unsecured Creditors (the “Committee”) of The Roman Catholic Church of the

  Archdiocese of New Orleans (the “Debtor”), hereby submits its Monthly Fee and Expense

  Statement (the “Statement”) for the period from December 1, 2024 through December 31, 2024

  (the “Statement Period”) for the above-styled Chapter 11 bankruptcy case (the “Bankruptcy

  Case”).

                                                  RELIEF REQUESTED

            2.        The total amounts sought by Rock Creek for fees for professional services

  rendered and reimbursement of actual, reasonable, and necessary expenses incurred for the

  Statement Period are as follows:



  1
   The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of
  business is located at 7887 Walmsley Ave., New Orleans, LA 70125.

  4901-8157-9796.1 05067.002
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 31
                                         of 49


                                      December 1, 2024 to December 31, 2024
                     Fees                                                 $825.00
                     Expenses                                             $       0.00
                     Total                                                $825.00

                               SERVICES RENDERED AND EXPENSES INCURRED

            3.           The Rock Creek timekeepers (collectively, the “Timekeepers”) who rendered

  services to the Committee in connection with the Bankruptcy Case during the Statement Period,

  including the rate and fees earned by each Timekeeper, is attached hereto as Exhibit A. Also

  included in Exhibit A is a schedule of fees incurred by Rock Creek during the Statement Period

  summarized by task code, along with the detailed time records which describe the time spent by

  each Rock Creek Timekeeper for the Statement Period.

            4.           Rock Creek also maintains records of all actual and necessary out-of-pocket

  expenses incurred in connection with the rendition of its professional services. At this time Rock

  Creek is not requesting reimbursement for any expenses incurred during the Statement Period but

  reserves the right to request reimbursement therefore in the future.

  SUMMARY OF FEE STATEMENTS AND APPLICATIONS SUBMITTED AND FILED

           Application
                                         Requested                 Paid to Date               Total Unpaid
             Period

                                  Fees         Expenses     Fees              Expenses    Fees          Expenses

      7/1/2022 – 7/31/2022      $5,550.00        $0.00    $5,550.00               $0.00   $0.00              N/A

       8/1/2022-8/31/2022        $825.00         $0.00     $825.00                $0.00   $0.00              N/A

       9/1/2022-9/30/2022        $550.00         $0.00     $550.00                $0.00   $0.00              N/A

      10/1/2022-10/31/2022       $660.00         $0.00     $660.00                $0.00   $0.00              N/A

     11/1/2022 – 11/30/2022     $1,650.00        $0.00    $1,650.00               $0.00   $0.00              N/A

     12/1/2022 – 12/31/2022      $440.00         $0.00     $440.00                $0.00   $0.00              N/A

      1/1/2023 – 1/31/2023       $550.00         $0.00     $550.00                $0.00   $0.00              N/A

      2/1/2023 – 2/28/2023      $11,480.00       $0.00    $11,480.00              $0.00   $0.00              N/A


  4901-8157-9796.1 05067.002                                2
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 32
                                         of 49


      3/1/2023 – 3/31/2023     $2,190.00    $0.00    $2,190.00      $0.00        $0.00        N/A

      4/1/2023 – 4/30/2023     $1,375.00    $0.00    $1,375.00      $0.00        $0.00        N/A

      5/1/2023 – 5/31/2023     $38,660.00   $0.00    $38,660.00     $0.00        $0.00        N/A

      6/1/2023 – 6/30/2023     $5,410.00    $0.00    $5,410.00      $0.00        $0.00        N/A


      7/1/2023 – 7/31/2023     $5,830.00    $0.00    $5,830.00      $0.00        $0.00        N/A

      8/1/2023 – 8/31/2023     $8,475.00    $0.00    $8,475.00      $0.00        $0.00        N/A

      9/1/2023 – 9/30/2023     $1,280.00    $0.00    $1,280.00      $0.00        $0.00        N/A

     10/1/2023 – 10/31/2023     $825.00     $0.00     $825.00       $0.00        $0.00        N/A

     11/1/2023 – 11/30/2023    $1,925.00    $0.00    $1,925.00      $0.00        $0.00        N/A

     12/1/2023 – 12/31/2023    $1,100.00    $0.00    $1,100.00      $0.00        $0.00        N/A

      1/1/2024 – 1/31/2024      $825.00     $0.00     $825.00       $0.00        $0.00        N/A

      2/1/2024 – 2/29/2024      $825.00     $0.00     $825.00       $0.00        $0.00        N/A

      3/1/2024 – 3/31/2024     $1,925.00    $0.00    $1,925.00      $0.00        $0.00        N/A

      4/1/2024 – 4/30/2024      $825.00     $0.00     $825.00       $0.00        $0.00        N/A

      5/1/2024 – 5/31/2024      $825.00     $0.00     $825.00       $0.00        $0.00        N/A

      6/1/2024 – 6/30/2024      $825.00     $0.00     $825.00       $0.00        $0.00        N/A

      7/1/2024 – 7/31/2024     $1,925.00    $0.00    $1,540.00      $0.00       $385.00       N/A

      8/1/2024 – 8/31/2024      $825.00     $0.00      $0.00        $0.00       $825.00       N/A

      9/1/2024 – 9/30/2024      $825.00     $0.00      $0.00        $0.00       $825.00       N/A

     10/1/2024 – 10/31/2024     $825.00     $0.00      $0.00        $0.00       $825.00       N/A

     11/1/2024 – 11/30/2024    $1,925.00    $0.00      $0.00        $0.00      $1,925.00      N/A



                                             NO PRIOR REQUEST

            5.        With respect to the amounts requested herein, as of the date of this Statement, Rock

  Creek has received no payments and no previous application for the relief sought herein has been

  made to this or any other Court.




  4901-8157-9796.1 05067.002                           3
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 33
                                         of 49


                               NOTICE AND OBJECTION PROCEDURES

            6.        In accordance with the Interim Compensation Order, notice of the Statement has

  been served upon the following parties (“Notice Parties”) as required by the Complex Case Order:

  (i) counsel for the Debtor, Mark Mintz, Esq., Jones Walker LLP, 201 St. Charles Ave, New

  Orleans, LA 70170-5100; (ii) counsel for the prepetition secured lender, Hancock Whitney Bank,

  David F. Waguespack, Esq., Carver, Darden, Koretzky, Tessier, Finn, Blossman & Areaux,

  L.L.C., 1100 Poydras Street, Suite 3100, New Orleans, Louisiana 70163-1102; (iii) KS State Bank,

  1010 Westloop, P.O. Box 69, Manhattan KS 66505-0069; (iv) Dell Financial Svc LP, Mail Stop

  P82DF, 23 One Dell Way, Round Rock TX 78682; (v) David S. Rubin, Butler Snow LLP, 445

  North Boulevard, Suite 300, Baton Rouge, LA 70802; (vi) Colleen Murphy, Greenberg Traurig,

  One International Place, Suite 2000, Boston, MA 02110; (vii) Annette Jarvis, Greenberg Traurig,

  222 S. Main Street, Fifth Floor, Salt Lake City, UT 84101; and (viii) Amanda George, Esq., Office

  of The United States Trustee, 400 Poydras Street, Suite 2110, New Orleans, LA 70130; and (ix)

  Stewart Robbins Brown & Altazan, LLC, 301 Main Street, Suite 1640, P.O. Box 2348, Baton

  Rouge, LA 70821-2348.

            7.        Also pursuant to the Complex Case Order, any objections to this Statement must

  be asserted on or before February 12, 2025 (the “Objection Deadline”), setting forth the nature of

  the objection and the specific amount of fees or expenses at issue.

            8.        If no objections to the Statement are received on or before the Objection Deadline,

  the Debtor, pursuant to the Complex Case Order, is authorized to pay Rock Creek on an interim

  basis the total amount of $660.00, which consists of eighty percent (80%) of Rock Creek’s total

  fees of $825.00 for the Statement Period.

            9.        To the extent an objection to the Statement is received on or before the Objection

  Deadline, the Debtor is to withhold payment of that portion of the Statement to which the objection
  4901-8157-9796.1 05067.002                           4
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 34
                                         of 49


  is directed and will promptly pay the remainder of the fees and disbursements in the percentages

  set forth above. To the extent such objection is not resolved, it shall be preserved and scheduled

  for consideration at the next interim fee application hearing.

   Dated: January 29, 2025                              Respectfully submitted,

                                                        By: /s/ James Gansman
                                                        James Gansman
                                                        Rock Creek Advisors, LLC
                                                        1738 Belmar Blvd
                                                        Belmar, NJ 07719
                                                        Email: jgansman@rockcreekfa.com

                                                        Pension Financial Advisor to the Official
                                                        Committee of Unsecured Creditors




  4901-8157-9796.1 05067.002                       5
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 35
                                         of 49




                                EXHIBIT A




  4901-8157-9796.1 05067.002
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 36
                                         of 49




 James I Stang                                                                                              January 27, 2025
 Pachulski Stang Ziehl & Jones                                                                                 Invoice #: 2312
 10100 Santa Monica Blvd.                                                                                Tax ID # XX-XXXXXXX
 13th Floor
 Los Angeles, CA 90067


____________________________________________________________________________________


         Services Rendered from December 1, 2024 Through December 31, 2024


         RE: The Official Committee of Unsecured Creditors for the Roman Catholic of
         the Archdiocese of New Orleans




                      Professional Services                                     $     825.00       USD
                        CURRENT CHARGES                                         $     825.00       USD




 Please direct questions regarding this invoice to: John Spencer at (203) 524-8990 or jspencer@rockcreekadvisor.com.



 Please remit wire/ACH payment to:
 Bank Name:           TD Bank N.A.
 ABA #:               026013673
 Account Name:        ROCK CREEK ADVISORS, LLC
 Account #:           4357257124




 Please remit check payment to:
 ROCK CREEK ADVISORS, LLC
 1738 BELMAR BLVD
 BELMAR, NJ 07719




1738 Belmar Blvd                                                                                     Belmar, NJ 07719
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 37
                                         of 49




Summary of Professional Services:




                Name                Rate          Hours         Fee
 Chris Peirce                         550.00              1.5    825.00

 Total Professional Services                              1.5    825.00




Summary by Task:




               Task                 Hours         Fee
 Fee Application                            1.5    825.00
 Total Tasks:                               1.5    825.00




1738 Belmar Blvd                                                          Belmar, NJ 07719
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 38
                                         of 49




Detail of Professional Services:




    Date              Task                          Notes                Hours     Last   Billable   Billable
                                                                                  Name     Rate      Amount
  12/18/24    Fee Application      Review prior month time entries and    1.5    Peirce    550.00     825.00
                                   complete fee statement and LEDES
                                   formatted file.




1738 Belmar Blvd                                                                          Belmar, NJ 07719
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 39
                                         of 49




                       EXHIBIT C
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 40
                                         of 49

                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF LOUISIANA

      IN RE:                                                §    Case No. 20-10846
                                                            §
      THE ROMAN CATHOLIC CHURCH                             §    Section “A”
      OF THE ARCHDIOCESE OF NEW                             §
      ORLEANS                                               §    Chapter 11
                                                            §
                       Debtor.1                             §    Objection Deadline: March 13, 2025
                                                            §


                         MONTHLY FEE AND EXPENSE STATEMENT OF
                                 ROCK CREEK ADVISORS, LLC
                           AS PENSION FINANCIAL ADVISOR FOR THE
                       OFFICIAL COMMITTEE OF UNSECURED CREDITORS
                      FOR THE PERIOD JANUARY 1, 2025 – JANUARY 31, 2025

            1.        In accordance with Section XIII(B) of the Court’s December 4, 2019 General

  Order Regarding Procedures for Complex Chapter 11 Cases (the “Complex Case Order”), Rock

  Creek Advisors, LLC (“Rock Creek” or the “Firm”), pension financial advisor for the Official

  Committee of Unsecured Creditors (the “Committee”) of The Roman Catholic Church of the

  Archdiocese of New Orleans (the “Debtor”), hereby submits its Monthly Fee and Expense

  Statement (the “Statement”) for the period from January 1, 2025 through January 31, 2025 (the

  “Statement Period”) for the above-styled Chapter 11 bankruptcy case (the “Bankruptcy Case”).

                                                  RELIEF REQUESTED

            2.        The total amounts sought by Rock Creek for fees for professional services

  rendered and reimbursement of actual, reasonable, and necessary expenses incurred for the

  Statement Period are as follows:




  1
   The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of
  business is located at 7887 Walmsley Ave., New Orleans, LA 70125.

  4899-9283-9713.1 05067.002
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 41
                                         of 49

                                           January 1, 2025 to January 31, 2025
                     Fees                                                 $825.00
                     Expenses                                             $       0.00
                     Total                                                $825.00

                               SERVICES RENDERED AND EXPENSES INCURRED

            3.           The Rock Creek timekeepers (collectively, the “Timekeepers”) who rendered

  services to the Committee in connection with the Bankruptcy Case during the Statement Period,

  including the rate and fees earned by each Timekeeper, is attached hereto as Exhibit A. Also

  included in Exhibit A is a schedule of fees incurred by Rock Creek during the Statement Period

  summarized by task code, along with the detailed time records which describe the time spent by

  each Rock Creek Timekeeper for the Statement Period.

            4.           Rock Creek also maintains records of all actual and necessary out-of-pocket

  expenses incurred in connection with the rendition of its professional services. At this time Rock

  Creek is not requesting reimbursement for any expenses incurred during the Statement Period but

  reserves the right to request reimbursement therefore in the future.

  SUMMARY OF FEE STATEMENTS AND APPLICATIONS SUBMITTED AND FILED

           Application
                                         Requested                 Paid to Date               Total Unpaid
             Period

                                  Fees         Expenses     Fees              Expenses    Fees          Expenses

      7/1/2022 – 7/31/2022      $5,550.00        $0.00    $5,550.00               $0.00   $0.00              N/A

       8/1/2022-8/31/2022        $825.00         $0.00     $825.00                $0.00   $0.00              N/A

       9/1/2022-9/30/2022        $550.00         $0.00     $550.00                $0.00   $0.00              N/A

      10/1/2022-10/31/2022       $660.00         $0.00     $660.00                $0.00   $0.00              N/A

     11/1/2022 – 11/30/2022     $1,650.00        $0.00    $1,650.00               $0.00   $0.00              N/A

     12/1/2022 – 12/31/2022      $440.00         $0.00     $440.00                $0.00   $0.00              N/A

      1/1/2023 – 1/31/2023       $550.00         $0.00     $550.00                $0.00   $0.00              N/A

      2/1/2023 – 2/28/2023      $11,480.00       $0.00    $11,480.00              $0.00   $0.00              N/A

      3/1/2023 – 3/31/2023      $2,190.00        $0.00    $2,190.00               $0.00   $0.00              N/A



  4899-9283-9713.1 05067.002                                2
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 42
                                         of 49


      4/1/2023 – 4/30/2023     $1,375.00    $0.00    $1,375.00      $0.00        $0.00        N/A

      5/1/2023 – 5/31/2023     $38,660.00   $0.00    $38,660.00     $0.00        $0.00        N/A

      6/1/2023 – 6/30/2023     $5,410.00    $0.00    $5,410.00      $0.00        $0.00        N/A


      7/1/2023 – 7/31/2023     $5,830.00    $0.00    $5,830.00      $0.00        $0.00        N/A

      8/1/2023 – 8/31/2023     $8,475.00    $0.00    $8,475.00      $0.00        $0.00        N/A

      9/1/2023 – 9/30/2023     $1,280.00    $0.00    $1,280.00      $0.00        $0.00        N/A

     10/1/2023 – 10/31/2023     $825.00     $0.00     $825.00       $0.00        $0.00        N/A

     11/1/2023 – 11/30/2023    $1,925.00    $0.00    $1,925.00      $0.00        $0.00        N/A

     12/1/2023 – 12/31/2023    $1,100.00    $0.00    $1,100.00      $0.00        $0.00        N/A

      1/1/2024 – 1/31/2024      $825.00     $0.00     $825.00       $0.00        $0.00        N/A

      2/1/2024 – 2/29/2024      $825.00     $0.00     $825.00       $0.00        $0.00        N/A

      3/1/2024 – 3/31/2024     $1,925.00    $0.00    $1,925.00      $0.00        $0.00        N/A

      4/1/2024 – 4/30/2024      $825.00     $0.00     $825.00       $0.00        $0.00        N/A

      5/1/2024 – 5/31/2024      $825.00     $0.00     $825.00       $0.00        $0.00        N/A

      6/1/2024 – 6/30/2024      $825.00     $0.00     $825.00       $0.00        $0.00        N/A

      7/1/2024 – 7/31/2024     $1,925.00    $0.00    $1,540.00      $0.00        $0.00        N/A

      8/1/2024 – 8/31/2024      $825.00     $0.00     $825.00       $0.00        $0.00        N/A

      9/1/2024 – 9/30/2024      $825.00     $0.00     $825.00       $0.00        $0.00        N/A

     10/1/2024 – 10/31/2024     $825.00     $0.00     $825.00       $0.00        $0.00        N/A

     11/1/2024 – 11/30/2024    $1,925.00    $0.00      $0.00        $0.00      $1,925.00      N/A

     12/1/2024 – 12/31/2024     $825.00     $0.00      $0.00        $0.00       $825.00       N/A



                                             NO PRIOR REQUEST

            5.        With respect to the amounts requested herein, as of the date of this Statement, Rock

  Creek has received no payments and no previous application for the relief sought herein has been

  made to this or any other Court.




  4899-9283-9713.1 05067.002                           3
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 43
                                         of 49

                               NOTICE AND OBJECTION PROCEDURES

            6.        In accordance with the Interim Compensation Order, notice of the Statement has

  been served upon the following parties (“Notice Parties”) as required by the Complex Case Order:

  (i) counsel for the Debtor, Mark Mintz, Esq., Jones Walker LLP, 201 St. Charles Ave, New

  Orleans, LA 70170-5100; (ii) counsel for the prepetition secured lender, Hancock Whitney Bank,

  David F. Waguespack, Esq., Carver, Darden, Koretzky, Tessier, Finn, Blossman & Areaux,

  L.L.C., 1100 Poydras Street, Suite 3100, New Orleans, Louisiana 70163-1102; (iii) KS State Bank,

  1010 Westloop, P.O. Box 69, Manhattan KS 66505-0069; (iv) Dell Financial Svc LP, Mail Stop

  P82DF, 23 One Dell Way, Round Rock TX 78682; (v) David S. Rubin, Butler Snow LLP, 445

  North Boulevard, Suite 300, Baton Rouge, LA 70802; (vi) Colleen Murphy, Greenberg Traurig,

  One International Place, Suite 2000, Boston, MA 02110; (vii) Annette Jarvis, Greenberg Traurig,

  222 S. Main Street, Fifth Floor, Salt Lake City, UT 84101; and (viii) Amanda George, Esq., Office

  of The United States Trustee, 400 Poydras Street, Suite 2110, New Orleans, LA 70130; and (ix)

  Stewart Robbins Brown & Altazan, LLC, 301 Main Street, Suite 1640, P.O. Box 2348, Baton

  Rouge, LA 70821-2348.

            7.        Also pursuant to the March 13, 2025 (the “Objection Deadline”), setting forth the

  nature of the objection and the specific amount of fees or expenses at issue.

            8.        If no objections to the Statement are received on or before the Objection Deadline,

  the Debtor, pursuant to the Complex Case Order, is authorized to pay Rock Creek on an interim

  basis the total amount of $660.00, which consists of eighty percent (80%) of Rock Creek’s total

  fees of $825.00 for the Statement Period.

            9.        To the extent an objection to the Statement is received on or before the Objection

  Deadline, the Debtor is to withhold payment of that portion of the Statement to which the objection

  is directed and will promptly pay the remainder of the fees and disbursements in the percentages



  4899-9283-9713.1 05067.002                           4
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 44
                                         of 49

  set forth above. To the extent such objection is not resolved, it shall be preserved and scheduled

  for consideration at the next interim fee application hearing.

   Dated: February 27, 2025                             Respectfully submitted,

                                                        By: /s/ James Gansman
                                                        James Gansman
                                                        Rock Creek Advisors, LLC
                                                        1738 Belmar Blvd
                                                        Belmar, NJ 07719
                                                        Email: jgansman@rockcreekfa.com

                                                        Pension Financial Advisor to the Official
                                                        Committee of Unsecured Creditors




  4899-9283-9713.1 05067.002                       5
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 45
                                         of 49




                                EXHIBIT A




  4899-9283-9713.1 05067.002
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 46
                                         of 49




 James I Stang                                                                                             February 26, 2025
 Pachulski Stang Ziehl & Jones                                                                                 Invoice #: 2342
 10100 Santa Monica Blvd.                                                                                Tax ID # XX-XXXXXXX
 13th Floor
 Los Angeles, CA 90067


____________________________________________________________________________________


         Services Rendered from January 1, 2025 Through January 31, 2025


         RE: The Official Committee of Unsecured Creditors for the Roman Catholic of
         the Archdiocese of New Orleans




                      Professional Services                                     $     825.00       USD
                        CURRENT CHARGES                                         $     825.00       USD




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 Account #:           4357257124




 Please remit check payment to:
 ROCK CREEK ADVISORS, LLC
 1738 BELMAR BLVD
 BELMAR, NJ 07719




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Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 47
                                         of 49




Summary of Professional Services:




                Name                Rate          Hours         Fee
 Chris Peirce                         550.00              1.5    825.00

 Total Professional Services                              1.5    825.00




Summary by Task:




               Task                 Hours         Fee
 Fee Application                            1.5    825.00
 Total Tasks:                               1.5    825.00




1738 Belmar Blvd                                                          Belmar, NJ 07719
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 48
                                         of 49




Detail of Professional Services:




    Date              Task                          Notes                Hours     Last   Billable   Billable
                                                                                  Name     Rate      Amount
  1/27/24     Fee Application      Review prior month time entries and    1.5    Peirce    550.00     825.00
                                   complete fee statement and LEDES
                                   formatted file.




1738 Belmar Blvd                                                                          Belmar, NJ 07719
Case 20-10846 Doc 3859 Filed 03/27/25 Entered 03/27/25 11:39:44 Main Document Page 49
                                         of 49



                                  CERTIFICATE OF SERVICE

          I hereby caused a copy of the foregoing Application to be served on March 27, 2025 upon
  all parties by electronic case filing for those parties receiving notice via the Court’s Electronic
  Case Filing system, and on all other parties requiring service under the Court’s Ex Parte Order
  Authorizing the Debtor to Limit Notice and Establishing Notice Procedures through the Master
  Service List via first-class United States mail, postage prepaid, to be sent on March 27, 2025.



                                               /s/ Nancy H. Brown
                                                   Nancy H. Brown




  4928-1821-4191.2 05067.002                      17
